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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:05-CR-163

v.                                                           HON. ROBERT HOLMES BELL

DAMOND DSHAN BEAN,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Damond Dshan Bean has filed a motion for modification or reduction of sentence

(ECF No. 1374) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, because the defendant's base offense level was calculated under the career offender

guideline, the Probation Office has now found Defendant ineligible for a reduction in sentence under

Guideline Amendment 782. No objections have been filed to the Report of Eligibility within the

time frame prescribed.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(ECF No. 1374) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




Dated: January 14, 2015                     /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            UNITED STATES DISTRICT JUDGE
